      Case 1:10-cr-00131-LJO Document 246 Filed 04/22/15 Page 1 of 2
 1
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 5

 6   ATTORNEY FOR Defendant,
     JOSEPH NOLAN
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                                 ******
11   UNITED STATES OF AMERICA,                           Case No.: 1:10-CR-00131-AWI
12
                    Plaintiff,                           STIPULATION AND ORDER TO
13                                                       CONTINUE SENTENCING
            v.
14                                                       Date: April 27, 2015
     JOSEPH NOLAN,
15                                                       Time: 10:00 am
                    Defendant.                           Courtroom: 2
16                                                       Hon. Anthony W. Ishii

17          Defendant, JOSEPH NOLAN, by and through his attorney of record, Anthony P.

18   Capozzi and the United States Attorney by and through their attorney of record, Karen A.

19   Escobar, hereby stipulate as follows:

20          1. This matter was set for Motion to Continue Sentencing on April 27, 2015, at 10:00

21   a.m.

22          2. The parties agree and stipulate that the sentencing date bet set on May 18, 2015, at

23   10:00 a.m.

24          3. Additionally, the parties agree and stipulate, and request that the Court find the

25   following:

26                  a. That Formal Objections be filed on May 4, 2015.

27                  b. The parties also request that the motion hearing set for April 27, 2015, at

28          10:00 a.m. be vacated.
                                                        1
                                 STIPULATION AND ORDER TO CONTINUE SENTENCING
                                          CASE NO.: 1:10-CR-00131-AWI
      Case 1:10-cr-00131-LJO Document 246 Filed 04/22/15 Page 2 of 2
 1                                 Respectfully submitted,

 2   DATED:       April 21, 2015         By: /s/Anthony P. Capozzi
                                             ANTHONY P. CAPOZZI
 3                                           Attorney for Defendant JOSEPH NOLAN
 4

 5
     DATED:       April 21, 2015         By: /s/Karen A. Escobar
 6                                           KAREN A. ESCOBAR
                                             Assistant United States Attorney
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 8

 9                                               ORDER
10            For reasons set forth above, the continuance requested by the parties is granted
11   for good cause.
12            IT IS ORDERED that sentencing is continued to May 18, 2015, at 10:00 a.m.,
13   the motion hearing set for April 27, 2015, is vacated and Formal Objections be filed on
14   May 4, 2015.
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16   IT IS SO ORDERED.

17   Dated:    April 22, 2015
                                                 SENIOR DISTRICT JUDGE
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                                STIPULATION AND ORDER TO CONTINUE SENTENCING
                                         CASE NO.: 1:10-CR-00131-AWI
